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        1    between the Essex capital and the lenders.
        2         Q       Who suggested them?    Was i t your idea or
        3    theirs?

        4         A       I think it was primarily — I think it was both
        5    of ours because people were getting a high rate of
        6    return.     They wanted the flexibility if they needed the
        7    liquidity.     So I think it was a mutually agreed upon — I
        8    don't think it was.       It was a mutually agreed upon
        9    decision.

       10         Q       So, for example, you see the fourth entry or
       11    the fourth row on government exhibit 109 first page,
       12    which is a trust, and it has a maturity date of 2014,
       13    7/28/2014?
       14          A      Uh-huh.    Right, and that's been perpetually
       15    rolled over with a 180-day extension.
       16          Q      How does that work?    Does that mean they have
       17    to give you notice that they actually want to —
       18          A      They have to give six months notice.
       19          Q      If not, their note automatically —
       20          A      Well, yeah, I mean, if they called up tomorrow
       21    and said they wanted the money back, it would be six
       22    months.     If it went until the beginning of December and
       23    they called, it would be six months.
       24          Q      Okay.     And with — you responded that
       25    Government Exhibit 109, you had personally guaranteed all




                                                              EXHIBIT 4 PAGE 122
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        1    those funds in the first page.             What about the second
        2    page of the advertising?
        3         A         Guaranteed as       well.

        4         Q         So all promissory notes are personally
        5    guaranteed?
        6         A         Yes,

        7                   BY MR.     BLAU:

        8          Q        So between Exhibit 108 and 109 as of April, you

        9    personally guaranteed $15 million worth of promissory
       10    notes?

       11          A        Whatever is on here, yeah.         Obviously, the P&I
       12    have been      reduced and the principal has been reduced.
       13                   MS. OCHOA:         I've now handed you what's been
       14    marked    as   Government Exhibit 110.         I'm handing you a copy

       15    of Government Exhibit 110 to your attorney.

       16                                         (SEC Exhibit No. 110 was marked
       17                                         for identification.)

       18                   BY   MS.   OCHOA:

       19          Q        If you could look at Government Exhibit 110
       20    while I    describe i t for the record?

       21          A        Right.

       22          Q        Government Exhibit 110 is a        three-page

       23    document.

       24          A        Right.

       25          Q        It was produced by you or by Essex Capital




                                                                   EXHIBIT 4 PAGE 123
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        1    Corporation as a spreadsheet with two tabs.
        2         A     Right.

        3         Q     The very first tab of Government Exhibit 110 is
        4    printed as page — as page 1 and page 2, and it's Bates
        5    numbered ECC0049681.

        6         A     Right.
        7         Q     The second tab of Government Exhibit 110, which
        8    is the third page of government exhibit 110.         The second
        9    tab of the spreadsheet that you produced, which is the
       10    third page of government exhibit 110 is Bates numbered
       11    ECC004968-2.

       12         A     Right.

       13         Q     Let's look at first — let's start with the
       14    last page of Government Exhibit 110, which is
       15    ECC004968-2.

       16         A     Right.

       17          Q    Do you recognize —
       18          A     I   do.

       19          Q    Do you recognize Government Exhibit 110?           I
       20    know you just answered, but I'm repeating the question so
       21    I can go ahead and get i t all in.
       22          A    Okay.      To me,   110 is three pages.
       23          Q    Yes.

       24          A     I misunderstood,       I thought you asked have I
       25    recognized the third page of 110.




                                                              EXHIBIT 4 PAGE 124
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                                                                            Page 128 :

        1            Q    I'm asking do you — well, do you recognize the
        2    first       all three pages of Exhibit 110?
        3            A    Yes,     I   do.   Sorry.

        4                 MR.     DENEVE:       Wait until she finishes.

        5                  THE WITNESS:          Yep,

        6                  BY MS,      OCHOA:

        7            Q     So looking at the third page of Government
        8    Exhibit     110, what is it?          And that's the one Bates
        9    labeled     4968-2, for the record.

       10            A     Right.       This is a spreadsheet that is dated as
       11    of April 15, 2017,          and it is the monthly payment schedule
       12    for   the   two Granger entities.
       13            Q     And that's the Essex Granger LLC and Essex
       14    Granger 2,        LLC; correct?
       15            A     LLC,    2 — oh, you're right,        2 LLC.     Sorry.
       16            Q     Okay,       So could you walk me — who maintains
       17    this?

       18            A     We do,       Kelly,

       19            Q     Kelly does?

       20            A     Yeah.

       21            Q     Who gave Kelly the information to put into this
       22    spreadsheet?

        23           A     I    did initially.

        24           Q     Okay,       And when was that?     When did you give
        25   that i n i t i a l information?




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                                                                          Page 129

        1            A.     When the first -- I guess in February or March
        2    of   2016.

        3            Q      Okay.      So will you walk us through this and
        4    explain to us what i t shows?
        5            A      Sure.      This represents amortization schedules
        6    for multiple transactions.           It shows what the principal
        7    amount of the contribution was.           This shows the interest
        8    rate.        It shows the payment and how many payments were
        9    made.        It shows the term of two,    three,   or four years,

       10    and it shows the monthly payments that were due, which
       11    would amortize the original principal.
       12            Q       So this is — so looking at — let's look at
       13    the very first set of — set of cells on the third page
       14    of Government Exhibit 110.

       15            A       Yes.

       16            Q       That's the chart below the Essex Granger, LLC.
       17            A       Uh-huh.

       18            Q       Let's look at the row that starts with Apeel,
       19            A       Okay.

       20            Q       Okay?     And it has a note date of March 15,
       21    2016, a maturity date of February 15, 2019.             Original
       22    principal is 1 million, and a current balance of
       23    $639,251.42, with 8 percent interest, three years and
       24    periodic payment amount and a due date the 15th?
       25            A       Yes.




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        1    if you have a copy or not.       I believe you do because, you
        2    know, I think we made it available.          It talked about the
        3    deficiencies under the terms of the agreement and my
        4    intent to remedy deficiencies.       And we are remedying — I
        5    can't say the word, remedying those deficiencies.
        6                   One of the problems we had was that we had
        7    commitments from lessees to lease large amounts of
        8    equipment.       They didn't live up to their agreement to do
        9    that.       We found ourselves with insufficient number of
       10    leases to allocate, continued to make the payments,
       11    continued to amortize the overall obligation.           The
       12    original was 23,600,000, 1 believe.          1 think that's down
       13    to about 10,200,000 or something.       But in March we
       14    received the subpoena.       I'm not blaming the subpoena that
       15    we couldn't, but it slowed us down.          We are still trying
       16    to   find    leases.

       17                    We lost our ability to use Montecito Bank and
       18    Trust as a funding source.       Not lost.     They decided not
       19    to fund us anymore until there's a resolution.           So right
       20    now while we're financially on track, we're not
       21    structurally on track.       1 think that's the best way 1 can
       22    put it.       And we have not assigned the leases because I
       23    made a mistake, and I thought that there could be a
       24    partial assignment, even though using you as an example,
       25    Boxed was $8,741,000 lease.       Montecito Bank and Trust




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        1    converging together.     Okay?   Certainly when I sent that
        2    letter, it confirmed what I believed they already knew.
        3    I think that there are e-mails which might have
        4    established an earlier date.      But I do remember with Jim
        5    Boden, not their auditor, but their tax guy, that we had
        6    a conversation fairly early that, in fact, due to the
        7    circumstances we've discussed,      those leases were

        8    unassignable.    And there wasn't a conversation by them
        9    saying okay.    Well, cancel the deal.       And I continued to
       10    make the payments to this day.       Okay?
       11                 Now, in that letter I also said that we intend
       12    to live up to our terms of the deal, which call about an
       13    assignment of residual and talk about an assignment of
       14    warrants; right?     That's what we're going to do.        We will
       15    do it, and we will continue to make the payments because
       16    I gave my word I was going to do it, and I'm going to do
       17    it.

       18          Q     So you said the money from Ogin and Solexel
       19    hasn't been coming, but you've been making the payment?
       20          A     That's correct.

       21          Q     So what's the source of funds that you're using
       22    to make the payment?
       23          A     All sorts of funds coming into Essex.

       24          Q     Is it possible that some promissory note
       25    holders funds are used to pay the Essex Granger LLC?




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        1         A      My wife's been saving for 15 years for an
        2    annuity for a million dollars.            She put a million dollars
        3    into Essex.       Look,   I — let me take a moment.        Okay?
        4         Q      Do you want to go off the record?
        5         A      Yeah.

        6                MS.    OCHOA:   Off the record at 3:00 p.m.
        7                (A brief recess was taken.)

        8                MS. OCHOA:      Back on the record at 3:12 p.m.         on
        9    Wednesday, November 15th.         Okay.
       10                BY MS.    CHANG:

       11          Q     Okay,     So we're going to change topic.          Let's
       12    talk about financial        statement?

       13            A   Right.
       14            Q   Can you tell me, please, when did you first
       15    retain external accounting to help you with financial
       16    statements?

       17            A   I   believe i t was 2012.
       18            Q   And who did you hire back in 2012?
       19            A   Damitz, Brooks, blank, blank, blank,            Chris
       20    Harris, specifically.          He was assigned to me.
       21            Q   Okay.     And why did you decide to engage in
       22    2012?

       23            A   It wasn't just 2012.          I decided to hire
       24    external accountants —          I had intention of
       25    institutionalizing the business and becoming less reliant




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         1   on non institutional lenders.       And I thought that by
         2   having external financial -- or financial statements
         3   prepared by outside accountants, initially on a reviewed
         4   basis, that it would be beneficial to the growth of the
         5   company and allow me to grow the business more
         6   effectively.       Said in a nutshell, institutions like to do
         7   business with institutions.

         8         Q     So prior to 2012, did you have anybody helping
         9   you compile financial —
        10         A     Yes, yeah.      I had an accountant, who also
        11   happened to be an attorney.        His name was Gary Yoshimura.
        12

        13         Q     And did he perform any review or audit for your
        14   financial   statements?

        15         A     No.     No.   Basically Gary was a tax guy.     We
        16   didn't really have an audit — not audit in the sense of
        17   an audited statement, but somebody, you know, as opposed
        18   to an auditor —       as opposed to a tax person.
        19         Q     And why didn't you have your external
        20   accountant perform audit for your financial statement
        21    subsequent to your —
        22         A     You mean a full blown audit?
        23         Q     Yes.

        24         A     Expense.

        25         Q     Is that the only reason?




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        1    in our brokerage account and then some shares remained at
        2    the transfer agent for almost nine months.
         3                    I didn't know exactly how many shares we
         4   owned.     It was a very complex cap structure, and no
         5   matter — I just — but it did appear that he might not
         6   — this was just one theory I had, that he might not have
         7   picked up the 10-for-one reverse split because the number
         8   of shares we had was — I found out later exaggerated
         9   almost nine or 10 to one.

       10                     But then he showed me, as I mentioned, about
        11   the confusion in the bridge loan and the confusion
        12   between Essex World Ones and Essex Capital.
        13                BY MS.    OCHOA:

        14         Q      So you reviewed the financial.      This is a
        15   compilation.        So you have to review it; correct?
        16         A      I was responsible.
        17         Q      Why didn't you catch the difference of $50
        18   million?

        19         A      I    didn't.

        20         Q      Why not?
        21         A      I didn't know how much shares we owned.         I can
        22    tell you I thought it was an inflated figure, but I
        23   couldn't tell you to what degree it was an inflated
        24    figure.    Okay?     I can only tell you what I thought, and I
        25    can only tell you what I did.




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        1    statements?

        2          A     Yes, because I thought we did.
        3          Q    What was your basis for thinking that?
        4          A     Because I was getting account statements from
        5    the transfer agent that showed it.
         6         Q    And what — and what were the number of shares
         7   showed?

         8         A     I can't remember, but there was a time when it
         9   appeared that we had shares as a transfer agent and when
       10    we had shares at the brokerage accounts,
       11                MS. OCHOA:     I've handed you what I've just
        12   marked as Government Exhibit 111.        A copy has been handed
        13   to your attorney.     Take a look at Government Exhibit 111
        14   while I describe it for the record.        Government Exhibit
        15   111 is Bates No. Revance-SEC-00001345 all the way through
        16   the rest of the — all the way through — the rest of the
        17   Bates numbers of SEC- -- Revance- SEC-00001346-17.
        18                                  (SEC Exhibit No. Ill was marked
        19                                  for identification.)
        20               THE WITNESS:      Right.
        21               BY MS.   OCHOA:

        22         Q     The top of the e-mail appears to be a message
        23    from David Styka?
        24         A     Right.
        25         Q     E-mail dstyka revance.com to ralph




                                                              EXHIBIT 4 PAGE 132
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        1    essexcapi.'kalcore. com sen'b on Wednesday January 22, 2014,
        2    with an attachment entitled "Revance Pro Forma Cap Table
        3    IPO." On top of the e-mail it says, "Ralph, per your
        4    request on the board call, please find attached the pro
        5    forma cap table regards, and, then attached to it are
         6   several documents.      A very large spreadsheet that we've
        7    printed and X referenced that begins in Bates 13461
         8   through 17, and it appears to be a cap table.
         9          A     Right.
       10           Q     Do you — do you recognize Government Exhibit
       11    111?

        12          A     I recognize it.    There's two e-mails to me with
        13   — with what appears to be a detailed capitalization
        14   table.

        15          Q     Okay.    And who is David Styka?
        16          A     I think his title was controller.
        17          Q     Okay.    And then — it says based on the e-mail,
        18   you were on a board call and you requested a pro forma
        19   cap table.
        20                 Do you recall doing that?
        21          A     Yes — well, no.     I don't recall specifically
        22   asking for it, but I must have because he sent it to me.
        23        Q    Okay. So if we look at — did the — did the
        24   joint — so it during the January period of board calls,
        25   were you discussing the reverse — the reverse split of




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        1                BY MS.   OCHOA:

        2          Q    Government Exhibit 112 is Bates No. REVANCE-SEC
         3   00001848 through 1849-3.      It's 1848 through 1849-3.       The
         4   very first page of Government Exhibit 112 appears to be
         5   an e-mail sent on February 12, 2014 from David Styka to
         6   ralph essexcapitalcore.com, copying Lauren Silvernail
         7   subject, Essex capital equity holding.        And the second
         8   page has a table, and it says Essex Capital Stock
         9   summary.    The third page has a Revance — has another
        10   table entitled Revance Therapeutics Warrant Holder
       11    Report.    And the last page has a Revance — has another
        12   table entitled Revance Therapeutics Inc. convertible
        13   promissory notes ledger.
        14                Do you recognize Government Exhibit 112?
        15         A     Yes.

        16         Q     Okay.    Tell me, what is Government Exhibit 112?
        17

        18         A     It would appear to be the number of shares
        19   owned by Essex that weren't in the amount of a bridge
        20    loan post IPO.
        21         Q     Okay.    So in the top cover or the very first
        22   page of Exhibit 112 David Styka appears to write, "Ralph,
        23    I understand from Lauren that you were inquiring about
        24   your equity holdings post IPO. Attached please find our
        25   pro forma estimate of your holdings post IPO. The fxnal




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        1    calculations are being vetted by our attorneys, and our
        2    transfer agent and foinaal notification with the final
        3    share calculations will be sent by the transfer agent in
         4   the upcoming weeks."
         5           A      Right.
         6           Q      So you were asking David Styka?    Was that the
         7   case?       You were asking David Styka what Essex Capital's
         8   equity position was?
         9           A      Based on the complexity of the cap table, I was
       10    asking him how many shares we own.
        11           Q      Okay.    If you turn to the second page of
        12   Government Exhibit 112 there's a -- there's an Essex
        13   Capital stock summary, and it identifies your shares
        14   presplit as 1,860,321, and then your total post split
        15   shares at 145,501.
        16                   Do you see that?
        17           A      Yes.

        10           Q      Did you share this capital stock summary with
        19   Chris Harris?

        20           A      I do not remember.
        21           Q      You do not remember one way or other whether
        22   you shared it with him?
        23           A      I don't remember if I did or not.
        24           Q      Okay.    So you said that you were confused about
        25    the number of shares, but this is a very clear table.




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        1                 So why was it that if this table basically
        2    identifies, again, very clearly that your holdings are
        3    closer to 150,000, why was it that you did not identify
         4   the error in the financial statements, which had your
         5   shares at closer to 1.5 million?

         6         A     Because I was still waiting for final
         7   resolution from the transfer agent as to the number of
         8   shares.    Now, I was still waiting for a final resolution.
         9

        10         Q     So you thought your shares were going to
        11   increase from 150,000 to over a million?
        12         A     No.     I didn't know what they were going to
        13   increase to.      I did not know what they were going to
        14   increase   to.

        15         Q     Okay.

        16               BY MR.    BLAU:

        17         Q     Did anyone at Revance give you any reason to
        18   believe that your shares would increase from what they
        19   told you in Exhibit 112?
        20         A     No, other than the language of our transfer
        21   agent formal notification with a final share calculation.
        22   At that point I didn't know how many shares I was going
        23   to get in from the bridge loan, even though it showed it.
        24   Okay? I didn't know where my shares were going to be. I
        25    knew that they would -- I felt they would go up.          I




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        1    didn't know if they would go up substantially or not.            I
        2    know I got statements from the transfer agent after the
         3   shares were in the Essex account.         I don't remember what
         4   they aggregated to.
         5               BY MS.   CHANG:

         6          Q    I understand that you testified that you do not
         7   remember whether you shared this particular stock summary
         8   with Chris Harris;     is that correct?

         9          A    Right.
        10          Q    But as a general practice when Chris Harris was
        11   preparing Essex financial statements, would this type of
        12   document be something that you would have shared with
        13   him?

        14          A    I — I — look, we — I — my practice was to
        15   turn everything over to Chris.       So I want to be careful
        16   to say that I did or I didn't because 1 don't remember if
        17   I did or I didn't.       My practice would have been to share
        18   anything to do with any debit -- or pardon me.          Asset or
        19   liability with Chris.
        20               MS. OCHOA:     I'm now handing you what's been
        21   marked as Government Exhibit 113.         A copy of Government
        22   Exhibit 113 has been handed to your counsel.          Take a look
        23    at Government Exhibit 113 while I describe it for the
        24    record.   Government Exhibit 113 appears to be an e-mail
        25    from you to Eckloff, Amerissa dated Wednesday March 19,




                                                              EXHIBIT 4 PAGE 137
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                                                                      Page 167 J
        1    2014, with an attachment that appears to be several
        2    shares from computer share regarding Revance Therapeutics
         3   summary of holdings.       The document is Bates numbered
         4   SEC_ESSEX EMOOOOOl-00032 all the way through 34.
         5                                  (SEC Exhibit No. 113 was marked
         6                                  for identification.)

         7                BY MS.   OCHOA:                                          |

         8          Q     Do you recognize Government Exhibit 113?
         9          A     Yes.

        10          Q     Okay.    So what is Government Exhibit 113?
        11          A     It appears to be the number of shares held in
        12   the computer share account of Revance Therapeutics for
        13   Essex Capital.
        14           Q    Okay.    And those shares that we looked at, did
        15   you forward this to Amerissa Eckloff?
        16           A     It appears that I did.
        17           Q     It appears that you did, but did you?      Do you
        18   remember     doing that?

        19           A     Well, no, I don't remember, you know, in March
        20    of 2014,    but it would look like it was an e-mail from me
        21    to   her.

        22           Q     Who is Amerissa Eckloff?

        23           A     She was an administrative assistant at Merrill
        24    Lynch.

        25           Q     Okay,   Did you have — do you have contact with




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        1    Amerissa    Eckloff in connection with your Merrill Lynch
        2    accounts?

        3          A      Did   I?

        4          Q      Or do you generally?
        5          A      Well,      I don't believe she's working there
         6   anymore.

         7         Q      Well, did you in the past?
         8         A      I   did when she was there.

         9         Q      Okay.      So if we turn to the third page of
       10    Government Exhibit 113, which is Bates number 3034 --
       11          A      Right.

        12         Q      We have a closing position of Essex Capital
        13   Corporations Holdings and Revance.
        14         A      Uh-huh,      right.

        15         Q      And that position 113,329?
        16         A      Right.

        17         Q      And that's an amount that matches what the
        18   closing position for Essex shares are, based on table?
        19         A      Okay.

        20         Q      So as of this point we see that document from
        21   computer    share confirming what Revance Holdings' were as
        22   of March    12, 2014?

        23         A      Right.

        24         Q      Did you provide those to Chris Harris?
        25         A      My normal course of activity would — would




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        1    have been that I — I did, I would have, but I can't
         2   remember i f I   did or I   didn't.

         3         Q     Okay.

         4         A     It was three years ago.

         5         Q     Okay.   Well, we haven't seen it in the work
         6   papers, and we haven't seen it in the e-mails of you
         7   providing this to Chris Harris.
         8         A     Okay.

         9         Q     And, again, so looking at this, it's 113,000.
        10   Again, we're closer to 113,000, were the actual shares —
        11   which were the shares that you actually did hold.
        12                Why is it that having this document,
        13   Government Exhibit 113, having the cap table that we saw
        14   as Government Exhibit 111, you didn't pick up the fact
        15   that the 2015 financial statements overstated your equity
        16   position by over 10 points — over a million.
        17        A    When Chris presented the financials to me, the
        18   compiled financials, it showed $74 million worth of
        19   marketable securities, which weren't all — they weren't
        20   all Revance, but the majority of them — vast majority
        21   were from Revance.      Okay?   I didn't question the number.
        22    I should have questioned the number.
        23                Later when I did question the number, Chris
        24    gave me the reason that the number was 74 million as
        25    opposed to 24 million was because of the problem — his




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        1    misinterpretation of the SI.           If you tell me I didn't
        2    send these documents to Chris, I guess I didn't send them
         3   to Chris.       If Chris told you he didn't get them from me,
         4   I guess I didn't do it.        Okay?     I mean, I —
         5               BY MR.    BLAU:

         6         Q     Do you think you provided Chris Harris with
         7   enough information to come up with the right answer as to
         8   how many Revance shares you owned?
         9         A     I didn't know how many Revance shares I owned,
        10   so I don't — to answer your question, if I didn't
        11   provide Chris with this information, I didn't provide him
        12   with adequate number — adequate information.               Okay?
        13               BY MS.    OCHOA;

        14         Q         So Government Exhibit 113 provides the number
        15   of Revance shares that you owned?
        16         A     Well
        17         Q     That's the number that you owned.           So how is it
        18   that you could say that you didn't know the number of
        19   shares that you owned?         You have a
        20         A     I    didn't   —

        21         Q     -- March 19th e-mail telling you?
        22         A     I didn't totally rely upon computer share and
        23    the amount of shares that I owned.          Okay?    I didn't have
        24    total confidence in it.        It doesn't mean that I wasn't
        25    wrong, and it appears that I was wrong.




                                                                  EXHIBIT 4 PAGE 141
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                                                                          Page 176

        1    my answer was no, and I my answer remains no.
        2          Q      Okay.     But you provided him financial
        3    statements with information through September 2015?
        4          A      As   I   stated.

        5          Q      Right.      And that information is also incorrect;
         6   right?
         7         A      Well, it — the year end was restated, so I
         8   would imagine a quarterly — it could be that the quarter
         9   was right and the end of the year was wrong, but that
       10    wasn't the case.         The — the — — the 2014 and 15 were
       11    restated.

       12                 BY MR,     BLAU:

        13         Q      Okay.      I guess the point was you provided him
        14   with information that had the incorrect information about
        15   the Revance shares that you didn't know; is that correct?
        16

        17         A X provided Mr. Van Wyk the statement as of
        18   9/30/2015 that would appear to have an inflated value for
        19   the marketable securities, some of which were Revance.
        20         Q      Okay.
        21         A      I don't mean to be so didactic, but --
        22         Q      That's an accurate answer?
        23         A      I want to make sure we got it right.
        24                MS, OCHOA:         Okay.   Let's go off the record at
        25    4:10 p.m.




                                                                  EXHIBIT 4 PAGE 142
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                                           PROOFREADER'S    CERTIFICATE




                3    In   The   Matter   of:   ESSEX   CAPITAL   CORP.


                4    Witness:                  Ralph lannelli

                5    File    Number:           LA-04787-A


                6    Date:                     Wednesday, November 15, 2017

                7    Location:                 Los Angeles,      CA




                9                  This is to certify that I, Maria E, Paulsen,

               10    (the undersigned), do hereby swear and affirm that the

               11    attached proceedings before the U.S. Securities and
               12    Exchange Commission were held according to the record and
               13    that this is the original, complete, true and accurate
r\             14    transcript that has been compared to the reporting or

               15    recording accomplished at the hearing.

               16


               17                                           11/30/2017

               18     Proofreaaer's Name                    (Date)


               19


               20


               21


               22


               23


               24


                25




                                                                          EXHIBIT 4 PAGE 143
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     1                               CERTIFICATION


     2                                       OF


     3                     CERTIFIED SHORTHAND REPORTER

     4


     5                I, the undersigned, a Certified Shorthand

     6    Reporter of the State of California do hereby certify:
     7                That the foregoing proceedings were taken

     8    before me at the time and place herein set forth;

     9    that any witnesses in the foregoing proceedings, prior
    10    to testifying, were placed under oath; that a verbatim
    11    record of the proceedings was made by me using machine
    12     shorthand which was thereafter transcribed under my

    13    direction; further,      that the foregoing is an accurate

    14     transcription thereof.

    15                 I further certify that I am neither financially

    16     interested in the action nor a relative or employee of

    17     any attorney of any of the parties.
    18                 IN WITNESS WHEREOF,         I   have this date

    19     subscribed my name

    20

    21

    22


    23                              Certificate Number 13045

    24                              Dated:        November 15,     2017

    25




                            Hahn & Bowersock, A Veritext Company
                                        800.660.3187



                                                                   EXHIBIT 4 PAGE 144
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                   UNITED STATES SECURITIES AND EXCHANGE COMMISSION



                   In the Matter of:

                                                  } File No. LA-04787-A
                   ESSEX    CAPITAL   CORP.



                   WITNESS:     Ralph lannelli
                   PAGES:       180 through 347
                   PLACE:       Securities and Exchange Commission
                                Los Angeles Regional Office
                                444 South Flower Street,         Suite 900
                                Los Angeles,   California 90071
                   DATE:        Thursday, November 16, 2017


                           The above-entitled matter came on for hearing
                   pursuant to notice at 9:49 a.m.




                                Diversified Reporting Services,          Inc.
                                              (202)   467-9200




rN




                                                                     EXHIBIT 4 PAGE 145
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                                                                                Page 185

         1                              PROCEEDINGS

         2                 MS.    OCHOA:     On the record on Thursday,         November

         3    16,   at 9:49 a.m.       Mr.   lannelli,    we are continuing with
         4    our testimony as yesterday.
         5                 Do you understand you're still under oath?
         6                 WITNESS:        Yes.

         7    Whereupon,

         8                                   RALPH    lANELLX

         9    was called as a witness and, having been previously duly
        10    sworn,    was examined and testified further as follows:
        11                                      EXAMINATION

        12                                        (SEC Exhibit No.     9 was referred

        13                                        to.)

        14                 BY    MS.   CHANG:

        15          Q      Mr.    lannelli, I'm handing you what's previously
        16   been marked as Government Exhibit 9.                  Please take a

        17   moment to review Exhibit 9              while I    describe i t for   the

        18    record.     Government Exhibit 9 appears to be an e-mail
        19    chain of a multiple page document with Bates number
        20    SEC-DBNTM-E-0028027 through 031.

        21                 On top of the first page is an e-mail from you,
        22   Mr.    lannelli to Chris Harris sent on Thursday January 2,

        23    2014, and the siabject is regarding Revance Confidential
        24    e-mail-Sl on f i l e .       Correction the Bates number i s from

        25    last 0028027 through 032.




                                                                       EXHIBIT 4 PAGE 146
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                                                                            Page 209

         1   nowhere close to a million; right?
         2           A        Right,

         3           Q        So then when you see Chris Harris's e-mail a
         4   year later, which is Government Exhibit 8 quoting or
         5   citing 1,4 million shares, almost 1.5 million shares, did
         6   you flag that as an issue for him?
         7           A        I flagged it as an issue for him later when he
         8    restated the 2014 and 2015 financials.

         9           Q        Okay.    So you flagged i t as an issue after you
        10    received the SEC subpoena from us?
        11           A        Yeah.    I received it in March — the answer is

        12    yes.

        13            Q       Okay.

        14                    BY MR.   BLAU:

        15            Q       Did you share with Mr. Harris your brokerage
        16    statement either Exhibit 114 or perhaps the one that came
        17    after       that?

        18            A       Mr. Blau, I don't know if we sent him our
        19    annual statements or if we sent him our monthly
        20    statements, but certainly he would need to know — he
        21    would need to get some of the statements.             I could find
        22    out whether they gave them to him monthly, quarterly, or
        23    annually.           But he would have a copy of all the
        24    statements.

        25                    MS, OCHOA:       I'm now handing you what I've




                                                                   EXHIBIT 4 PAGE 147
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                                                                           Page 232

         1           A   I   was   uncomfortable with   the   number   —   I   was

         2    uncomfortable with the t o t a l   number of shares      that    I

         3    owned at that time even as      late as that date with the

         4    transfer agent, and that's why I made the statement that
         5    I   did.

         6           Q   What statement are you referring to?
         7           A   The statement of the number of shares that

         8    Essex owned and the e-mail response to Davin Mantell.
         9           Q   Okay.      So you were not comfortable -- what
        10   you're saying is, and I don't want to put words in your
        11   mouth, but I want to understand what your answer is.
        12               Are you saying that you had doubts about
        13    whether the brokerage account statements accurately
        14    reflected your total number of shares, or are you saying
        15    that you had doubts about whether the financial
        16    statements accurately requested your total number of
        17    shares?

        18           A   The former.      And I had a financial statement
        19    that showed pre — I'm at a loss for words.
        20    Prerestatement that showed that valuation.
        21           Q   Okay.      So — so once you received the SEC
        22    subpoena, you went back and you were able to identify
        23    that there was an issue;      correct?

        24           A   Yes.

        25           Q   Okay.      So why weren't you able to do that in




                                                                 EXHIBIT 4 PAGE 148
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                                                                         Page 233

         1   April 2016?
         2         A h year earlier?
         3         Q     Yes.    A year earlier and —     I   know we're two
         4   years after the IPO and over two years after the Computer
         5    Share statement was issued?

         6         A     Right, because I had a firm belief at the time
         7    that there was an inaccuracy at that time.          And then
         8    given the gravity of receiving a subpoena from the SEC, I
         9    redoubled my efforts to try to make sure that I had it
        10    right.
        11         Q     And how did — so did you — after receiving
        12    the SEC subpoena, did you contact Revance to ask them
        13    about your missing shares or what you believed were your
        14    missing shares?

        15         A     No.

        16         Q     Okay.    Did you contact Computer Share to ask,
        17    "Where are these shares that I believed I         owned but are
        18    not showing up in my brokerage statement?"
        19         A     I did contact Computer Share.         I did review,
        20    and it became apparent to me at that time, I went back to
        21    Chris Harris.      We had the conversation.      He explained why
        22    the mistake was made about the misinterpretation of the
        23    81 and the contribution of the Essex to — there was also
        24    some -- some conversation about that maybe that there was
        25    a mistake, but that was debunked about the reverse split.




                                                                EXHIBIT 4 PAGE 149
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                                                                                 Page 235

         1            Q   What number?
         2            A   The   number   of   Revance   shares.

         3            Q   On your brokerage statement?
         4            A   No,   not on my -- well,       yeah,    no,    I'm sorry.      I

         5    apologize, yeah.      I don't -- I thought that the — the
         6    number of shares on the brokerage statement were
         7    accurate.    Okay?    I didn't think, though, I was getting
         8    full credit after the IPO for all of the private equity
         9    and bridge loan money I had put in.            The general counsel,
        10    the outside counsel, Gordon Ho,           said in 25,       30 years of
        11    doing these deals, it was the most complicated cap table
        12    he ever saw.      Okay?    It's not an excuse, just a fact.
        13                What changed between then and getting a
        14    subpoena from the SEC?          To someone who had been — had a
        15    problem with the SEC 44 years earlier, I was scared.
        16    I -- I don't know how else to put it.               I — it wasn't
        17    like I was — my financial statements that we had
        18    prerestatement, sorry, and post — we as I mentioned,
        19    tried the institution our business,           that's when I went to
        20    a recognized auditor.           Not for audit, but a recognized
        21    outside accounting firm.           You know, a regional firm, big
        22    firm.

        23                We were ramped up to start to do business, and
        24    we had a number of bankruptcies, which hurt our business
        25    dramatically.      I was like a one-armed paper hanger. Okay?




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rs


                                                                                  Page 256 ^

              1          A        Right.
              2          Q        Okay.       So did Essex Capital ever assign --
              3   what's       your position, did Essex Capital ever contribute
              4   equipment leases to this — to this — to the LLC?
              5          A        Essex Capital contributed a number of equipment              j
              6   leases,       but did not assign them.
              7          Q        Okay.       And when did you first tell Granger that
              8   the leases were not assigned?

              9          A        Okay.       So the first leases we did were in March         i
             10   of    '16.

             11           Q       Okay.

             12           A       And there was a conversation — it was March
             13    ' 16 or     '15?   I'm sorry.      Do you have that exhibit that
             14    showed      the Granger — the payments —
             15           Q       The payment schedule?
             16           A       Yeah.

             17           Q       It's    —

             IB           A       That would refresh my —

             19           Q       So it's probably the chart towards the bottom.
             20    I   see i t there.

             21           A       It's the one that was in color.

             22           Q       That's      it.

             23           A       It might be on the bottom.        No?
             24           Q       So i t ' s Exhibit 110, third page.

             25           A       Okay.       Thank you.   And the question again?




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                                                                           Page 266

             1    amounts are on the right-hand side, and they're all on
             2    the 15th of the month.       And that is just done for
              3   purposes of convenience because some of the lease
              4   payments came in on the 1st of the month, the 8th of the
              5   month,    the 20th of the month.
              6         Q      Okay.

              7         A      So I don't know if I answered the question.
              8         Q      So some of the leases that were eventually put
              9   as part of the portfolio of leases that we see listed in
            10    Government Exhibit 110, page 3, some of those leases
             11   predated — as far as the origination date, if they
             12   predated December 21, 2015; right?
r\
             13         A      That's right.    I'm sorry, what date?
             14         Q      December 21, 2015?
             15         A      Yes.

             16         Q      So then as of December 21, 2015, did you know
             17   that some of these leases were not going to be assignable
             18    to Granger or to the Essex Granger activities?
             19         A      As of what date?

             20         Q      December 21, 2015.
             21         A      At that point I believed that notes -- pardon
             22   me.   Leases with an encumbrance — that the bank, who was
             23    Montecito Bank and Trust, that we were going to be able
             24    to get a carve out or a portion of that lease that the
             25    bank held the collateral under that lease, and we could




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         1   get a release from the bank.
         2         Q     When did you reach —                did you reach out to the
         3   bank in order to try to get a carve out?
         4         A     We started preliminary conversations, and then
         5   the subpoena was received by the bank.
         6         Q     So approximately when did you start preliminary
         7   conversations?

         8         A       End of January,           February.

         9         Q     Of this year?

        10         A       Of    2017.

        11                 BY MR.    BLAU:

        12         Q           Are those memorialized in any sort of letter
        13   or e-mails?

        14         A       I    don't know.          But —   I   don't know.

        15         Q     Who were those preliminary discussions with?
        16         A       Perhaps Skinner.
        17                 BY MS.    OCHOA:

        18         Q       And at any point — were you going to say
        19    something?

        20         A       Sorry.        No,   no.

        21         Q       Between December 2015 and early 2017 did you
        22    let anybody from Granger Management know that you had to
        23    reach out to the bank in order to get — to get carve
        24    outs to assign leases?
        25         A       We had had conversations with the -- with the




                                                                         EXHIBIT 4 PAGE 153
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                                                                      Page 271

         1   months after this exchange to let them know that no
         2   assignment had been made period?
         3         A     We had continual conversations,      along with my
         4   conversations with both their tax accountants and with
         5   their auditors, that we would not be able to assign the
         6   leases.    We continued to makes payments as we have
         7   through the current time.      And as I mentioned, at some
         8   point the communications stopped, other than an e-mail
         9   from Gerri McManus to me when she and I had my surgery.
        10   That's been the only contact — other than with Ryan
        11   Donovan at Granger, who's a principal and he — we alert
        12   him when the monthly payments are going to be made.
        13         Q     At any point prior to receiving funds from
        14   them — let me restart.        The funds from Carnegie were
        15   first paid in late October 2015; right?
        16         A     Mid October,   yeah.
        17         Q     And then there was subsequent payments in early
        18   2016; right?
        19         A     That's correct.     Well, mid.

        20         Q     Mid 2016?
        21         A     Right.
        22         Q     Okay.    And then had there was a final — the
        23    final note came in late 2016?
        24         A     Yeah,    the fall of 2016.
        25         Q     So prior to any of those payments, did you let




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         1   them know that no assignment had been made?
         2         A     Well,    they knew that no assignment had been
         3   made because -- I     don't want this to sound snarky,      but no

         4   assignment had been made.       So it wasn't necessary for me
         5   to let them know.       They were aware of it because their
         6   auditors and their tax people,      including Ryan Donovan,
         7   knew that no assignment had been made.        There was an
         8   assignment document signed, and that would be government
         9   91,

        10         Q     There were several assignment documents?
        11         A     Yes,

        12         Q     That was one of the —
        13         A     Right,     But none of them had a list of the
        14   assigned leases.
        15         Q     So did you tell them that you were leaving out
        16    the assigned leases intentionally then?        So it was
        17    intentional to leave that exhibit — the attached              the
        IB   exhibit that it's supposed to be attached to.
        19               So in Government Exhibit 91 there's a Schedule
        20   A.

        21         A     Yeah.

        22         Q     Was it intentional to leave Schedule A blank?
        23         A     Well, I want to try to understand the question.
        24    I didn't assign anything. So it wasn't a question of
        25    intentional or unintentional. It was just factual. And




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         1   they were aware that there was no assignment because
         2   Schedule A was blank.      So I understand the question.          I
         3   don't understand the word "intentional."

         4           Q     So why were you even going through the notions
         5   of signing all these assignments with blank schedules if
         6   you're not assigning anything?       Why don't you wait to
         7   assign something before sending them an executed
         8   assignment?
         9           A     Because, well, on 12/21 for Government Exhibit
        10   91 and 12/21 for Government 90 was in anticipation of an
        11   assignment.      The promissory notes were to be assigned.
        12   But as we've discussed, those were delayed, right, by
        13   mutual consent.       But they signed the assignment and
        14   documented the promissory notes, but say prematurely,
        15   because they didn't get actually assigned until a later
        16   date.       And then it was the intention to assign the leases
        17    on 12/21/15, and that assignment never took place.
        18           Q      So then the Government Exhibit 91, the
        19    assignment of equipment leases, you're saying Exhibit 91
        20    that was executed by you.      It was, in fact, ineffective,
        21    right?      Is that what your testimony is?
        22           A      I don't know what ineffective means.      Again,
        23    I'm not trying to be a wise guy here,         I signed a
        24    document in anticipation of something occurring.           For a
        25    number of reasons some of which we discussed, and some of




                                                              EXHIBIT 4 PAGE 156
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         1           Q     What do you mean by the money actually
         2   transpired?      Because based on what we're looking at in
         3   bank records, 4 million was deposited into Essex Capital
         4   Corporation on October 21, 2015; 2 million was deposited
         5   on November 5, 2015; 4 million was deposited on December
         6   1, 2015; one million was deposited on February 6, 2016;
         7   9.76 million was deposited May 5, 2016, and 2.6 million
         8   was deposited on November 28, 2016.
         9           A     Right.   And I agree with all those dates of
        10   transfer.

        11           Q     Okay.    So those were — those are the dates, so
        12   they transferred money over to Essex Capital Corporation?
        13        A    Right. I believe they were with First Republic
        14   Bank.       I could be wrong, but I think they went to First
        15   Republic.
        16           Q     Okay.    So walk me through.   Let's start with
        17   October 21, 2015.        So $4 million are transferred over,
        18   what do you do with those $4 million?
        19           A      The money is put into Essex Capital for the
        20   purpose of acquiring the leases. We pay the interest.
        21   And at some point we converted those notes along with all
        22    the other deposits that you just enumerated were
        23    transferred — oh, pardon me, were converted into
        24    interest in the two LLCs.       It was      so that's what
        25    occurred.




                                                               EXHIBIT 4 PAGE 157
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         1           Q   So was any of that — did any of that $4
         2   million -- was any of that used to actually fund
         3   equipment leases?
         4           A   Yes.

         5           Q   Okay.   And after you did that, did you try to
         6   assign those leases to Granger Management, those leases
         7   that the money was used in?
         8           A   As I mentioned, the intention was to assign
         9   those leases as per the agreement.
        10           Q   But you were never able to?
        11           A   We were never able to assign because the

        12   communication stopped.      We were never able to assign
        13   them.

        14           Q   Okay.   Did you tell Granger Management that you
        15   would be — that you would be matching every dollar that
        16   their clients invested with one dollar of your own or
        17   Essex's own dollar.      So basically, that each investment
        18   would be on a one-to-one basis?
        19           A   Are you talking about on the size of a lease?
        20           Q   Yeah, so if they invested $5 million, you would
        21    also be investing in the $5 million?
        22           A   Yes.

        23           Q   Or whatever amount, $5 million in a lease.
        24           A   What I believe I said was that if it was a $2
        25    million lease, they would never own more than 50 percent




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              1   of the lease.       I   believe that's what I   said.

              2           Q   Okay.       And who would own the — did you
              3   explain —
              4           A   So i f i t was a    $2 million lease with Essex,

              5   they would own a million dollars, and we would own a
              6   million dollars.         Ownership is determined by assignment.
              7               MS. OCHOA:       I'm handing you what I've marked as
              8   Government Exhibit 119.         Take a look at Government
              9   Exhibit 119 as I describe it for the record. Government
             10   Exhibit 119 is Bates numbered SEC-GRANGER-E-0003629 all
             11   the way to 3631.         It appears to be an e-mail chain that
             12   involves you.       The top of the chain does not, which is
r\           13   the one that appears to be from Andy Walter to Pound
             14   Operations.     But right below that on the first page there
             15   is an e-mail from you to Andy Walter looking at page
             16   3629.

             17                                   (SEC Exhibit No. 119 was marked
             13                                   for identification.)
             19               the WITNESS:       My first page is 5419?
             20               MR, BLAU:       Yeah.
             21               MS. OCHOA:       Let me see.   Okay.   So let me go
             22    ahead — so the Bates number is SEC-GRANGER-E.
             23               THE WITNESS:       Right.
             24               MS. OCHOA:       00045419 all the way to 5421.
             25               THE WITNESS:       Okay.




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                                                                                                1




         1                      BY   MS.   OCHOA:

         2           Q      And this chain involves -- the top of the

         3   e-mail is from you to Gerri and Andy.                  Actually, from
         4   Andy to you copying Gerry McManus?
         5           A          Yes.

         6           Q          Okay.      Do you recognize Exhibit 119, which is
         7   Bates numbered SEC-GRANGER-E0005419 through 5421?
         8           A          They look like multiple e-mails by and
         9   between      - -




        10           Q          Yes.       I t ' s an e-mail chain, yes?

        11           A          Right.

        12           Q          And you're involved in every single one of
        13   Exhibit      119?                                                                  i
        14           A          Yeah,      I'm either from or to.

        15           Q          Right.       So do you recognize this chain?
        16           A          I recognize this because it's right in front of
        17   me.


        18           Q          So you don't remember having received these
        19    e-mails

        20           A          I don't remember specifically receiving it, but
        21    I couldn't say I didn't receive it because I did.
        22           Q          Okay.

        23           A          Presuming that the headers are correct and the
        24    sent   to   and the receive from are correct.

        25           Q          Okay.       And your e-mail is Ralph




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         1   essexcapitalcorp.com; right?
         2         A         Yes.

         3         Q         Okay.   Let's turn to the second page of
         4   Government Exhibit 119.         This is ending in 5420.    There's
         5   an e-mail from Andy Walter to you, and it says, "Ralph,
         6   thank you for processing the legal fees yesterday.           Very
         7   much appreciated.        With respect to our second entity, we
         8   are finalizing our internal investment memo to Granger
         9   clients and wanted to confirm, Essex will be investing
        10   1:1, so one to one, alongside us in this entity as well."
        11                   And then your response is, "Andy, as always, we
        12   are 50-50 on each transaction."
        13                   Okay.   So tell me what do you mean by we are
        14   50-50       —

        15           ft      It was a $2 million lease on Essex, and we used
        16    this as a funding source.        They would put in a million
        17    dollars and Essex would put in a million dollars.
        18           Q       Did you guys do that —
        19           ft      We attempted to do that on every lease.
        20           Q       But did you?
        21           A       No.

        22        Q    Did you do that on the leases that were part
        23    of — that were part of the Essex Granger 1 portfolio?
        24           A       We attempted to do that.
        25           Q       But you didn't?




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